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                                                                     ENTERED              ...
                                                                                            7'.SEXCDC.E.l
             1                                                                 X UNSEW MTIESOFBECCCt.)'t
                                                                                  .
                                                                                  .zbv.                 j
             2                                            '                 MAY 2i 2211                 (
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             3                                                                   z,,..-... .
                                                                                           ;            j
                                                                       cllv 14 ISTRICTCOURT             i
             4                                                            DIIm I
                                                                               tTbFNEVàM    .           '
'

             5
                                                               BY:       .                     DEPI
                                                                                                  JW--l
             6                            U N ITED STATES D ISTR IW CO IJRT
                                               '
                                                 D ISTR IG O F N EVA DA
             7
             8
                SI'IAW N VAN ASDALE,anindividpal, )                  3:04-457-00703-11V
              9 and LENA VAN ASDAI,E,an indiudual,)
                             Plaintiffs,          )
             10                                   )                  M EM ORAN DUM DECISION AND
                       vs.                        )                  ORDER         '
             11            .                      )
                INTERNATIONM GAM E ,              )
             12 TECHNOLOGY,aNevadacorporation, )
                                                  )                                                         .
             13              Defendant.           )
             14
                        BeforethecourtisDefendant,InternationalGam eTechnolon ,aNevadacorporauon's
             15
                  (IGT),RenewedM otionforludgmentasaM atteroflmw.(Doc.#342.)1Plaintiffs,Shawnvan
             16
                  Asdaleand LenaVanAsdale(Plaintiffs),opposed (Doc.# 345)andIGT replied (Doc.# 348).
             17
                  M so beforetbecourtisIGT'SM otion forNew TrialorRemittim r. (Doc.# 343.) Plaintiffs
             18
                  opposed(Doc.# 346)andIGT replied (Doc.# 347).Afterathorough review,thecourtdenies
             l9
                  bot.
                     h m otions.
             20
                                                     1. BA CKG R O U N D
             21
                        Plaintiffs,ShawnVanAsdaleand LenaVanM dale(Plaintiffslz,htlsband andwife,are
             22
                  form ercorporatecounselforDefendant,lnternationalGam er
                                                                        fechnolor ,aNevadacorporation
             23
                  (lGT).(Pls.'Com pl.(Doc.#3)3.) lGTspecializesinthedesign,development,m anufacturing,
             24
                  distribution andsalesofcom puterized gamingm achinesandsystem sproducts.(IGT'sM ot.
             25
                  forsumm .J.(Doc.#173)6.)PlainSFssledl eircomplaintagainstlGTonDecember1,2004,
             26
             27         I      Refea to court'sdocketnumber.

             28         2     Thecourtmay referto Plaintiffsindividually asShawn and Lena.
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                                                            '
                                                                    .
a   &



        1 œsserting a claim forwhistleblowerprotection reliefundertheSarbanes-oxley Act,18 U.S.C.
        2 j 1514A.(SOX),and state 1aw claim sfortortiousdischarge,intentionalintederence with
        3 contractualrelations,retaliation,andintentionalinflictionofem otionaldistress.(Doc.#3.)3
        4 Plaintiffs'ComplaintmssertsthattopmanagementatM chorGaming(Anchor)stoodtom ake
        5 m illionsofdollars,personally,ifIGT acquiredM chorby a m ergerwhich wmsbmsed prim arily
        6 onM chor'se'W heelofGold''patents(W heelPatents).LId.4 TheyallegethatAnchorwithheld
        7 vitalinform ation abouttheW heelPatentsfrom IGT and itsintellect'ualpropertydepartm ent,
        8 includingpriorartthatwolzldhaveinvalidatedapatentIGT soughttolitigate.(Jd.) Plaintiffs
        9 assertthatthey m et with IGT m anagem ent,consisting ofform er Anchor m anagem ent,to
        l0 express their concern about the withholding of this inform auon,and were term inated in
        1l retaliation fortheirwhistleblowingactivities.@d.)
        12         Ajurytrialwasheldfrom January26,zollthrough Febnmry8,2011On Plaintiffs'SOX
        13 claim .4 On February 7,2011,lGT filed itsM otion forJudgm entasaM atteroftaw ,which the
        14 courtdenied.(SecDoc.#310andDoc.#311.)TbetrialrestlltedinaverdictinfavorofPlaintiffs.
        15 Thejuryawardedactualdamagesintheam ountof$955,597t0Shawnand$1,270,303t0Lena.
        16 (Doc.# 316andDoc.# 317.) Judgm entwmsentered on Febnlar.
                                                                  !r9,2011.(SceDOc.# 321.)
        17 IGT fled its Renew ed M otion forJudgm entas a M atteroflmw and M otion forNew Trialor
        18 Rem ittittzron M arch 9,2011.(Doc.# 342 and DOc.# 343.)
        19                lI. M OTIO N FO R JU D G M EN T A S A M AT TER O F IA W
        20 A . LEG AI.STAN DA RD
        21      UnderRule5007),ifthecourtdeniesam otionforjudgmentasamatlerof1aw under
        22 Rule5o(a),fftllemovantmayfilearenewedmotionforjudgmentasamatterof1aw andmay
        23 includeanalternativeorjointrequestfornewtrialunderRule59.3'Fed.R.CiV.P.5007).A Rule
        24 50*)motion ffisnotafreestanding motion. Rather,itisarenewed Rtlle5o(a)motion.''
        25
                   3     Priorto ftling their complaint,Plaintiffs flled and voluntarily dism issed a form alcom plaint
        26 beforethesecretaryofIaaborpursuanttoSOX.(Doc.#3 at'
                                                             !60.)
        27         4     n ecourtgrantedsummaryjudgmentastothestatelaw claims.(SccDoc.#235.)
        28                                                      2
             Case 3:04-cv-00703-RAM     Document 355     Filed 05/24/11   Page 3 of 19

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        1 S.S.O.C.u.GoDaddysoftwarenlnc.,581F.3d951,961tgtXcir.2009).Forthatreason,aparty
        2 cannotraiseargumentsin apost-trialRule5009 motionthatitdidnotraisein it.  spre-verdict
        3 Rule 5O(a)m otion. fd. (citation om itted). However,dfgrlule 5009 may besatisfed by an
        4 ambiguousorinartfullym ademotion underRule5o(a).''.Jd.(internalquotation m arksand
        5 citation om itted).
        6        Ifthereissubstantialeddenceto suppol'tajuryverdict,thecoul'tm tlstdenyam otion
        7 forjudgmentasam atteroflaw.SeeW '  allacc1J.Cir?/ofsanDiego,479F.3d616,624(9th Cir.
        8 2007).''Substantialevidenceissuch relevantevidencemsreasonablemincksmightacceptms
        9 adequatetosuppol aconclusion evenifitispossibletoe aw - oincoM ltentconclc ions&om
        10 theevidence.''M aynardtl.CityofsanJose,37F.3d 1396,1404 (9t.
                                                                      h Cir.1994);Seealso .
        11 W àllacc,479 F.3d at624.Notably,Xhe courtm ustnotweigh theevidence,butsbould sim ply
        12 askwhetbertheplaintiffhaspresentedsufficientevidencetosupportthejury'sconclusion.''
        13 Id.M oreover,ï'ltlhemridencemustbeviewed inthelightmostfavorabletothenonm oving
        14 party,anda11reasonableinferencesmustbedrawn in favorofthatpary ''1d.
        15 B. D ISCU SSIO N
        16         1. Tim eliness
        17         PlaintiffsarguethatIGT'Smotion isuntim ely.(Doc.# 3452-3.)A Rule5009 m otion
        18 mustbefiledwithin28daysafterentryofjudgment.FM .R.CiV.P.5009.Hereyjudgmentwms
        19 entered on February9,2011.(SecDoc.#321.)ThelastdayforIGT tofilea renewedm otion
        20 forjudgmentasam atteroflaw wasW ednesdayM arch 9,2011.IGT did fileitsmotion,inthe'
        21 sam edocum entmsam otionfornewtrial,onMarch8,2008(sceDoc.# 340),anditwasre-fled
        22 asaseparatedocum enton M arch 9,2011(Doc.# 342).Therefore,IGT'Sm otion wastimely
        23 Gled.(SeeDoc.# 340-342.)
        24         2.CausaH on
        25         IGT arguesthatplaintiffsfailedto establish cattsadon-thatanyallegedprotectedaY vity
        26 wasacontributingfactorintheirterm ination. (Doc.# 342 7.) SpeciGcally,IGT arguesthat
        27 while Plaintiffsm ay havetestiled thatthey reported stlspicionsofshareholderfraud to Sara
        28                                              3
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:   ?



        1 BethBrown(Brown)andRichardpennington(Pennington),thedecisiontoterminatewasmade
        2 by DaveJohnson (Johnson),andtbereisnoevidenceintherecordto supporttheconcltlsion
        3 thatJohnson wasawareofPlaintiffs'conversationsabouttheirstzspicions.(1d.4
        4         PlaintiffscounterthatShawn testified ihathetold Penninp on aboutthepre-m erger
        5 nondisclosureoftheAustralian Flyer,itspotentialforfraudduringthem ergerzthathethought
        6 M arkHettinger(Hettinger)wasinvolved,anditcotlldgotothetop.(Doc.# 3454.) Plaintiffs
        7 pointoutthatIGT& CInotcallPenningtontotestifyattrial,andlohnsontestv edthathespoke
        8 with Pennington aboutShawn beforetheN ovem ber24,2003 m eeting V t.
                                                                            IIShawn and Lena,
        9 and hetalkedwith Pennington aboutShawn'spedormanceissues.(fd.at4-s.)Johnsonalso
        10 testifedthathemadetiedecisiontofreShawnthreedaysafterPlaintiffstoldhim aboutthe
        11 nondisclosureoftlleAustralian flyer.Lld.at6.)
        12        Regulationsprom ulgated bytheDepartm entoflaaborsetforth fourrequired elem ent.
                                                                                                s
        13 ofaprim afaciecaseundersox:(a)''Etqheemployeeengagedinaprotededae dl orconduct'';
        14 (bl'fEtlhe nam ed person knew orsuspected,actually orconstructively,thatthe employee
        15 engaged in the protected activit/';(c) f'gtlhe employee suffered an unfavorable personnel
        16 action'';and (d)'fgtlhecircumstanceswerbsufficienttoraisetheinferencetbattheprotected
        17 ae dl wu aconG budngfactorinG eunfavorableacdon.''29C.F.R.j198o.1o4(b)(1)(i)-(iv).
        18         The courtagrees* t..
                                      11Plaintiffsthatwhen viewed in the lightm ostfavorable to them ,
        19 thetestimonyattrialprovidessubstantialevidencefrom which thejurycould reasonably
        20 concludethattlle com m unicationsto Pennington and Johnson w ere a contributing factorin
        21 Plaintiffs'term ination.
        22         Shau washiredbylGTinl= uo zoolasM sociateGeneralcounsel.(Trialtranscript
        23 (Tr.)93-96(Doc.# 328).) Hereceived apositivepedormanceevaluationin2002,exceeding
        24 expectations.(Tr.118:23-25,119:1-21(DOC.#328).) lnhisfirstyearatlG'l',noproblemswere
        25 broughttohisatlentionconcerninghispedorm ance.(Tr.120:8-10 (Doc.# 328).) lnAugust
        26 2oo2,Shaw nwasprom otedto DiredorofSk ategicDevelopm ent,receivinganincreaseinsalary
        27 andadditionalstockoptions.(Tr.120:11-25(Doc.#328).)Atthattime,hewasalsom adeCo-
        28                                              4
'




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    %   #



             1 Headofthelntellecm alPropertyDepar% entuithlena.(Tr.122:23-25,123:1-6(D0c.#328).)
            2 Brown,IGT'S GeneralCounselatthe tim e,prepared his zoo3 pedorm ance review,and he
            3 received araise.(Tr.141:23-25,142:1-24 (DOC.# 329).)Attbeend of2003,healsoreceived
            4 anadditionalgrantofsharesofIGTstock,approvedbylohnson.(Tr.121:20-25,122:1-15(DOC.
            5 # 328).)
            6       LenastartedatIGT msM sociateGeneralCounselinJanuaryzool.(Tr.8:10-14 (Doc.
            7 #333).)Shereceivedagoodfrstpedo= anceevaluadonv G nocom plaints.(Tr:13:1-4(Doc.
            8 #333).) ShewaspromotedtoCo-l-leadoftbelntellecm alPropeliyDepartm entaroundApril
            9 2003,and received a raise,bontls,and stock options. (Tr. 13:5-10,19:21-25,20:1-8 (DOC.
            10 #333).)
            11       TheAustralianFlyerwasfirstbroughtto Plaintiffs'atlentionon August12,2003.(Tr.
            12 56:17-25,57:1-10 (Doc.# 333),Tr.228-233(DOc.# 329).) M terlearning oftheexistenceof
            13 theAustralian Flyer,Shawntestv edthathehadconversationsV :.
                                                                         IIPennington wherehetold
            14 Pennins on thatitwmshisfirm beliefthatIGT wmsdefrauded inthem ergerthroughAnchor,
            15 andspeciscallyHeG ngernotprovidingtheAustralian Flyerdocuments.(Tr.240:20-25,24-
            16 242:1,275:11-17(DOC.# 329),Tr.386:4-23(DOc.# 330).) Accordingto Shawn,Penninlon
            17 agreed thatthe m ergerhad been fraudulent,thatT.J.M attkewshad been involved,and that
            18 iftheyhadreceivedthesedocumentstheycotlldnothavegoneforwardwit.hthem erger.(Tr.
            19 275:18-23(Doc.#329).)ShawnalsotesdfiedtllatPenningtontoldhim thatifhekeptpressing
            20 foran investigation,hew ouldbefired,and ifanyoneevermsked Pennington whatbethought,
            21 hewould denyeverything.(Tr.275:24-25,276:1-2 (DOc.# 329).) Atthattime,Pennington
            22 wmsakeyemployeein aleadership positionatIGT.(Tr.242:18-25,243:1-9 (D0c.# 329).)
            23         Johnson began his em ploym ent as GeneralCounselof IGT on Novem ber 3,2003,
            24 replacingBrowm.(Tr.637:17-21(DOC.#331).)HewasPreviouslyGeneralCounselatM chor.
            25 (Tr.637:22-25(DOc.#331).)
            26      Shawnand Lenametwit.hJohnson on Novem ber24,2003. (Tr.258:21-25,259:1-10
            27 (Doc.#329),Tr.691:14-17(DOc.# 331).) Johnson admitsthattheyindicatedthatHettinger
            28                                           5
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I   1



         1 engagedin som esol4 ofbadbehaviorwit.h respectto thenondisclosureoftheAustralian Flyer,
        2 buttestifiedthatitwaspresentedasaproblem in connection withthepatentov ceapplication,
        3 anddidnothaveanythingtodowithshareholderfraud.(Tr.698:13-25,700:9-13(Doc.#331),
        4 Tr.815:19-25,816:1-7(D0c.#332).)
        5          Ontlleotherhand,Shaw nteslo edtllatheindicatedtoJohnsonthatthenondisclosure
         6 raisedconcernsofapotentialforfraudontheshareholders,althoughheadm ittedlydidnotuse
         7 thespecilcphraseGfraud onthesharebolders.''(Tr.260:2-261:1-6,262:4-6 (Doc.# 329).)
         8 lnstead, he testv ed that he relayed to Johnson his suspicions regarding H ettinger's
         9 involvem ent- thatHettingerinitiallystatedthathehad acopy oftheAustralian Flyerandlm d
        10 sentitto Shawn,and laterclaim ed he did nothavea copy oftheAmstralian Flyerbuthad told
        l1 Shawnaboutit.(Tr.260:2-10 (Doc.# 329).)AccordingtoShawn,hetoldJohnsonthatthe
        12 Atlstralian Flyerhad notbeen provided to him in the due diligence,and thereappeared to be
        13 atleastapotentialforfraudandaneedforan investigation.(Tr.260:1:-29 (Doc.# 329).)
        14 H etold Johnsonthathedid notbelieveH ettingeractedalone,and JoeW alkowskiwmsatlemst
        l5 involvedbecatlse hehad suspiciously com eup w it.h theAtlstralian Flyerdocum entsin such a
        16 shorttim e.(Tr.260:20-25,261:1-6(DOc.# 329).)Shawn reiteratedthatintheNovember24,
        17 2003m eetingV :.
                          IIJohnson,f'Etqheonlytypeoffraudthatweweretalkingaboutwmstheper-
        l8 mergeractivity,sothatwouldhavebeenam ergerthatwmsaccom plishedthroughfraud.''(Tr.
        19 .262:11-15 (DOc.#329).) Fraud On the patentofficewasalso subsequently discussed in the
        20 meeting.(Tr.262:16-23 (Doc.# 329).)                                                   '
        21         LenatesdfedthatdlzringtheNovem ber24,zoo3m eedngW l lohnsonyl eyi scc sed,
        22 am ongotherthings,how theAtlstralian Flyercam eabout,andthatan investigation neededto
        23 beconductedintowhythesedocum entshad notbeen disclosedpre-m erger.(Tr.67-68:2-11
        24 (Doc.#333).)Theyalsodiscussedthepotendalforfraud onthepatentov ceinthismeeting.
        25 (Tr.70:k5-23 (DOc.# 333).)
        26         According to Johnson,hedecided to term inateShawn Van M dalethreedaysafterthe
        27 November24,2oo3meetingybutdelayedtheterminationuntilaftertheholidays.(Tr.263:15-
        28                                              6
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 '1
,.    11.



            l 19 (Doc.# 329),Tr. 716:6-25 (Di)c.#330.) Shawn testifed thathehad notbeen told by
            2 Johnson at the Novem ber 24, 2003 m eeting that Johnson had any concerns wit.
                                                                                          h his
            3 performance,and Shawn was notgiven any indication thathisjob wmsin jeopardy. (Tr.
            4 263:20-25(Doc.# 329).)
            5       In December2003,Shawn traveled to Chicago,Japan,and AustraliaforIGT. (Tr.
            6 269:12-19(DOc.#329).)HegotsickwhilebewmsinAusa/iaandsubsequenfyfoundoutG at
            7 hehadcancer.(Tr.271:9-13(Doc.#329).)W henherem rnedtoRenofrom Australia,hewent
            8 tothedoctor,anddidnotreturntoworkonafull-tim ebmsisuntillanuaryzoo4.(Tr.271:14-19
            9 (Doc.# 329).) In late Januam in a meeting wit.
                                                           h Johnson,Shawn wmstold hewmsbeing               ..
            10 terminated.(Tr.276:21-25(Doc.# 329),Tr.734219-25,73511(DOc.*332).) Shawn'scx cial
            ll termination datewmsFebnlary 11,2004.(Tr.447:18x21(D0c.#330).)Aboutam onth later,
            12 in m id-M arch 2004,Lenawasterminated. (Tr.296:11-13 (DOc.# 329),Tr.N :20-25 (DOc.
            13 #333).)
            14       Constmzingtheevidencein favorofPlaintiffs,asitm ust,the courtfindsthatajury
            15 hearing Plaintiffs'testim ony set forth above could have reasonably concluded that the
            16 com m unicationswith Penninç on andJohnsoncontributedtotheirtermination.
            17         First,there wds substantialevidence presented concerning Plaintiffs version of the
            18 November24,2003meetingandthe jurycotlldhavereasonablybelievedPlaintiffs'version
            19 ofeventsoverlohnson's.Plaintiffs'testim onyabouttheN ovem berm eedngisconsistentu o
            20 Shau 'stesdm onyofhisconversadonsv i penninp onandtheconversationheandlaenahad
            21 w ith Brow n,where they clearly suggested thattheAustralian Flyerwasw rongftzlly withheld
            22 duringthemergerprocess.Thejuryalsocoidha'veconcludediatlohnsondidcommunicate
            23 V :.
                  IIPennington concerning Plaintiffs'allegadons of shareholder fraud. W hile Johnson
            24 testifiedthathedidnothavethisconversation(Tr.826:9-13(Doc.#332)),Shawntestifiedthat
            25 betold Penninsonofthepotentialforsharebolderfraudandthatitcouldgoa1lthewaytothe
            26 top,andJohnsontestv edthathespokewith PenningtonbeforetheNovemberm eeting.(Tr.
            27 275:11-23 (DOc.#329),Tr.807:17-20 (DOc.# 332).)
            28                 '                            7
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&
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        '   #                                                                                                     I



                 1          Second,Tfcausation can be inferred from tim ing alone where an adverse em plop nent
                2 action follows on the heels of protected activity.'' 7an Asdale,577 F.3d at 1oo3 (citing
                3 VilliarimoIJ.AlohaIslandAir,Inc.,281F.3d1054,1065(9t.
                                                                      hCir.20028;sccalsoYartzo.x
                4 tl. Thomas,8o9F.2d1371,1376 (9t.
                                                 h Cir.1987)(Causation could beinferredwhereadverse
                5 emplom entactiontookplacelessthanthreem onthsafterprotectedactivity).Here,Johnson
                6 testifedthathem adethedecisiontoterm inateShawnjtlstthreedaysalertheNovember24,
                7 zoo3m eeting.(Tr.263:15-19,Doc.# 329,Tr.716:6-25,Doc.#331.) Lenawasterm inated
                 8 severalweeks after Shaw n's ofscialterm ination date. M oreover,up untilthe tim e oftheir
                 9 term ination,Shawnand Lenareceived favorablepedorm ancereviewsandprom otions.(Scc
    .
                10 Tr.73:19-23,Doc.#333.)
                1l      Finally,the overallfadualciAumstancespresented attrialadd to thesubstantial
                12 eddencesuppoY ngaconclusionbyi ejua G attheprotectedacddl contributedtoplzndfs' '
                13 term inauon.PlaintiffstoldBrown andpenningtonthatH ettinger,andpossiblyT.l.M atthews,
                14 m ay havebeen involved in the pre-m erger nondisclosure ofthe Australian Flyer. Plaintiffs
                15 testifedthattheydiscussedthepotentialforfraud duringthem ergerwit.
                                                                                    h Johnson.Johnson
                16 wms General Counsel at Anchor prior to the m erger and worked V :.
                                                                                    IIT.J.M a/hew s and
                17 Hettinger. T.J.M attbews becam e CEO oflGT afterthe m erger,and replaced Brown V t.
                                                                                                     IA
                l8 JohnsonmsGeneralCounselofIGT.JohnsonmadethedecisiontoterminateSbawnjtlstthree
                19 days after they told him of the stlspicious nam re ofthe pre-m erger nondisclosure ofthe
                20 Australian Flyer,and then weeksafterShawn wasterm inated,m adethedecision to term inate
                21 Lena. W hile IGT presented evidence attrialthat Shawn wasterminated for poorjob
                22 pedorm ance,thisw asatoddswithtlleevidenceconcerning Shawn'spedorm ancereviewsand
                23 prom otions,and the testim ony of witnesses such as M r.Greenslade,who works for IGT'S
                24 com petitor,Aristocrat. Sim ilarly,V :.
                                                         IZrespectto Lena,whileIGT presentedevidencethatshe
                25 wasterm inatedforrequestingaccesstosensidveinform adonrelatedto 'tclassz''gam ing,Lena
                26 testifedthatsheaccessedthisinform ation in thenorm alcourseofherwork,andthatthiswms
                27 m erely apretextforherterm ination.         '
                28      .                                          8
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            l         In sum ,thecourtfinclstherewassubstantialevidenceforthejury,believingPlaintie '
            2 version ofevents,to conclude thatthe protected activity was a conttibuting factor in tbeir
            3 tenninations.
            4         3. Protected Activity                                                                   .
            5                a. Deflnitive and specilc reporting ofshareholderfraud
            6         IGT arguesthatPlaintiffsfailed to establish they defnitively and specifically repoded
            7 shareholderfraudbecallse:(1)Shau 'stesdmonyislco> istente G hisdeclarationsubm itted
            8 insupportofPlaintiffs'oppositiontoIGT'Sm otionforsumm aryjudgm ent;(2)Plaintiffsnever
            9 toldJohnsonthattheirsuspicionsregarbingtheAustralian Flyerrelatedtoanallegation of
            l0 shareholder fraud;and (3) Johnson was not aware of any allegation of fraud on the                  :
            11 shareholders.(Doc.#342 8-15.)
            12       PlaindFsu se/ i ati eyiddelniHvelyandspecise lyrepod shr eholdergaud.(Doc.
            13 #3457-11.)First,PlaintiffspointoutthatIGTofferedshawn'sdeclarationintoevidence,itwas
            14 adm itted,D dlGT neverrem arkedaboutanyl screpanc be- eenG edeclarauon andshawn's
            15 testimony at'trial. @d. at7.) Second,Plaintiffsassertthatthejurycould haveunderstood
            16 Plaintiffs'reportingtolohnsontohavebeendefnitiveandspecisc.(Id.at8.)Third,Plaintiffs
            17 take the position that Johnson's claim he w as not aware of an allegation of fraud on the

            18 shareholderswmssim plyunbelievable. (Jd.at9-11.)
            19         To constitkite protected activity under SOX,an ffem ployee's com m unications m ust
            20 Sdefinitively and specifcally'relate to (oneq ofthe listed categories offraud or securities
            21 violationsunder18 U.S.C.()j1514A(a)(1).''VanAsdalelJ.IntermationalGam eTechnology,
            22 577F.3d989,996-97(9thCir.2009).Thecourtfindsthattherewmssubstantialevidencefor
            23 the jury to conclude that Plaintiffs'comm unications to Johnson related,definitively and
            24 specifcally,to shareholderfraud.
            25         Johnson testv ed thatnothing in the Novem ber 24th m eeting wit.
                                                                                      h the Van Asdales
            26 indicatedtohim thattheywerecomplainingaboutshareholderfraud.(Tr.815:19-25,81611-7
            27 (Doc.# 332).) HetestifedthatShawrn indicatedtohim thatHettingerengaged in som esort
            28                                               9
                                                                                                                  k
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     1 ofbad behad orwith respectto the nondisclosure ofthe Australian Flyer,butitwas in the
    2 contextofadiscussion regardingtheproblem thiswould presentU4:.
                                                                   IAthepatentapplication.

    3 (Tr.695:15-23,700:9-13 (Doc.# 331).)
    4          Shawn testified thatduling theNovem ber24,2003 m eeting,he discussed thefactthat
    5 theAustralian Flyer'dhadnotbeenproducedduringG epre-m ergerduei ligencetoO'M elveny
    6 Myers,andthedocument.
                          shad notbeen produced inthepre-m ergertimefram eto Ehimselfl
     7 through M ark Hettingen..''(Tr. 408:13-18 (Doc.# 33c0.) He told Johnson l'tlzere wasa
     8 potentialforfraud''when they werediscussing thefactthattheAklstralian Flyerhad notbeen
     9 disclosedtointhepre-m ergertimeframe.(Tr.409:9-19(Doc.#33c8.) Headm itshedidnot
    10 usetheword ffshareholdersj''butinsisted hewastaking wit.
                                                              h Johnson ''aboutthepotentialfor
'
    l1 fraud duringthemerger.''(Tr.409:20-24 (Doc.# 330).) W henaskedon cross-exam ination
    12 whetherhesaidfstherew asapotentialforfraud duringthem erger,''Shaw n responded,''Idon't
    13 recallexactlyifitwaspotentialforfraud duringthem erger,orthishappenedduringthem erger
    14 andtherewasapotentialforfraud.But,theywouldhavebeen closelylinked.''(Tr.410:2-8
    15 (Doc.#33c9.)Heexplainedthatwhilehedidnottlsetheterm ''shareholderfraud,''theywere
    16 disclzssingthem ergerofAnchorand IGT andtestifedthatifIGTw % defraudedintbem erger,
    17 then it.sshareholderswere,bydefinition,defrauded.(Tr.411:16-22(Doc.# 330).) Hewent
    18 on to statethatbecatlseJohnson wmsalawyer,itwmsnotnecessaryforhim to tlsethespecific
    19 w ords''sharebolderfraudz''m eaningthatitwouldbeclearto an atlorneythatifa corporation
    20 w as defrauded ortricked into going through w itb a m erger,tben by defnition,the corporate
    21 shareholderswould havealsobeen defrauded.(Tr.411:23-25,412:1-17 (Doc.# 330).)
    22         On cross-exam ination,IGT'S counselasked Shawn aboutthe declaration he m ade in
    23 supportofPlaintiffs'oppositiontoIGT'Smotionforsummaryjudgment.(SceTr.419:11-14
    24 (Doc.#330).) IGT'Scounselspecificallyreferenced and read paragrapb 4 ofthedeclaration,
    25 which states:
    26         Itestifedjtmydepoqitionthatthenon-disclosureimplicatedapotentialfor
    27         f
               in
                ra
                 su
                  te
                   da.dIGT
                       ,
                           sced
                        focusoun seyon
                                onlldldtnotfa
                                        be   sud,
                                            rakme wh
                                                 on  atPat
                                                   the Ime an0tb
                                                         ent   gct
                                                                 eheu
                                                                  ms seto.fHthadatjh
                                                                    pec             r
                                                                                   eiaseyrn
                                                                                    nqul  ed,
                                                                                           d,
    28                                             10    **-
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    l         I woyld have testv ed consistently u4t.
                                                    l1what l told Sara Brown and Rich
              Pennlngton;i.e.,there was also a potentialforfraud on the shareholders that
    2         needed to beinvestigated.
        (Tr.419:19-25,420:1-4 (Doc.# 330).) Thedeclaration wmsadm itted intoevidenceon IGT'S
    3
        motion.(Tr.422:20-25(Doc.# 330).)Thedeclarationisnotinconsistentu4th histestimony
    4
        at trial. Shawn testv ed attrialthat he discussed V t.IZJohnson the circum stances ofthe
    5
        Alzstralian Flyer'sproduction and M ark Hettinger'sinvolvem ent.Thisis consistentw it.
                                                                                             h his
    6
        claim inhisdeclaradonG athewu tz k ngaboutpossiblel audconcerningG em ergerbe- een
    7
        IGTandAnchor.Histestim onythathedidnotusei eworddfshareholders,''buthew% t/k ng
    8
.       V i lohnsonffaboutl epotendz forg audduringi em erger''Lsconsistentw ithhisdeclaradon
    9
        statem entthathewotzld havetestv edthattherewasapotentialforfraud on the shareholders
10                                                 .                                              .
        thatneeded to be investigated. ln addition,his declaration is consistentV :.
                                                                                   IZhis testim ony
11
        concerning his conversations w1t.1: Brow n and Pennington wherein he suggested that the
12
        Australian Flyerhad been v ongfully withheld priorto the m erger.
l3
              Lenatestifed thatin theN ovem berm eeting,they discussed,am ong otberthings,how
14
        theAustralian Flyercam eaboutandl attheythoughtaninvesdgadon neededtobeconducted
15
        intowhythesedocument.shadnotbeendisclosedpre-merger.(Tr.67:4-13(Doc.#333).)She
16                            -
        testified that they gave M r. Johnson the fact.s surrounding how they found out aboutthe
17
        Australian Flyer,thatM ark H ettingerhad been involved,andthathekeptchanginghisstory.
18
        (Tr. 67:14-24 (Doc.# 333).) Shetold Johnson thatitwasimpoltantto find outwhy the
19
        documentswerenotgiventoIGT beforethem erger.(Tr.68:2-11(Doc.#333).)
20
              The coul't recognizes that there was conflicting testim ony at trial concerning the
21
        comm unicationsm adebyPlaintiffstoJohnson,butitwasup tothejuly todeterminewhose
22
        versionofeventsitbelieved.Taldngtheevidenceino elightm ostfavorabletoplaindfs,Shawn
23
        andLena'stestimonywassufficienttosuppol'tafndingbythejua i ati eircom munio uons
24
        to Johnson desnitively and specifcally related to shareholderfraud.
25
        ///
26
        ///
27
28                                                     11
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..   . 1   $                                                                   .




                1               b.SubjecHvebelief
                2         IGT arguesPlaintiffsdid notsubjectivelybelievesbareholderfraud occurredbecause:
                3 (1)Plaintiffstestifed attrialtliattheyhad only a suspicion ofapotentialforfraud;and (2)
                4 Plaintiffq'allegadonswerem adeinbadfail beo c ei eysoughtaseverancepacu geo ertheir
                5 termination and Shawnsold stock priortohisterm ination. (Doc.#34215-18.)
                6         First,Plaindffsarguethattheywerenotrequiredtoprovei atsbarebolderl audaA /ly
                7 occurred,onlythattheconductbeingrepo/ed,G enonO closm eofG eAu az ianH yer,related
                8 tofraudagainsttheshareholders.(Doc.#34511.)Second,Plaintiffsmssertthattheywereonly
                9 required to show thattheyremsonablybelieved theremkhthavebeen afraud andwerelred
               10 forevensuggesdngl e erinquia .@d.at11-12.)Third,PlaintiffsarguethatIGrrssuggestion
               l1 i atl eyactedinbadfzl byc 'ngto enterintoaseveranceagreem entlacksm erit,andshotlld
               12 notbeconsideredbecauseitwasnotraisedin IGT'SRule5O(a)m otion.(fd.at14.)
               13        Plaintiffswererequiredtoprovethato eyhadfTasubjecdvebeliefl atl econductbeing
               14 reportedviolatedalistedlaw.''VanAsdale,577F.3dat1000-10001(citationsom itted).W he
               15 legislativehistory ofSarbanes-oxleym akesclearthatitsprotectionswere'intendedto include
               16 allgoodfaiG = drea onablerepoY ngoffraud,andEthat)thereshol dbenopresumpdonG at
               17 repoltingisotherwise,absentspeciGcevidence.'''Id.at1002 (cidng148Cong.Rec.57418-01,
               18 57420 (daily ed. July 26,2002)(statementofSen. Leahyll. The Nint.
                                                                                  h Circuitclarified:
               19 f'Requiring an em ployeeto essentially provetheexistenceoffraudbeforesuggestingthe need
               20 foraninvestigatio'nwouldiardlybeconsistentwithCongress'sgoalofencouragingdisclosure.''
               21 Id. Taking the evidence in the light m ost favorable to Plaintiffs,the çourtfnds there is
               22 substantialevidencetosuppol'taconclusionbythejurythatPlaintiffshadasubjectivebelief
               23 thattbe conductbeing repoted,i.e.,the nondisclosure of the Australian Flyer,related to
               24 shareholderfraud.
               25        Plaintiffstestv ed thatthem annerofproduction oftheAlzstralian Flyerwmssuspicious
               26 becauseW alkowskihad previously been asked to send his endre fileto M arty Hirsch,butfor
               27 som ereason had readyaccesstothese docum entsand wasableto producetbem in a m atterof
               28                                            la
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 1 m inutes.(Tr.235:17-25,236:1-12(D0c.#329),Tr.5815-11,60:9-19 (D0c.#333).)M terbeing
 2 asked when hefrstthoughtthatthe non-disclosure cottld havebeen deliberateand thatthere
 3 wmsapotentialforfraud,Shawnresponded,''alm ostim mediately.''(Tr.236:13-18(Doc.#329).)
 4 PlaintiffsalsotestifedaboutHeG nger'sinvolvem ent.(Tr.237:6-8(Doc.#329))Tr.62-64:1-11
 5 (Doc.#333).)ShawndiscussedthenondisclosureoftheAustralianFlyerwithPennington,and
 6 thefactthathewmsdisturbedthatithadnotbeenproducedpriortothemerger.(Tr.241:17-21
 7 (Doc.# 329).) HeandLenathen discussedwith Brownthehighlystlspiciotlsnam reinwhich              .
 8 theAustralian Flyerwas produced,and thatit had notbeen provided in the pre-m erger due         i
 9 diligence. (Tr. 243:17-23,244:1-6 (Doc.# 329).) They testified thatthey discussed the
10 possibilitythattherew asa problem witlythem erger,thattherewasa potentialforfraud wit.
                                                                                        b         '
1l them erger,and questioned whetherHetlingeracted alone.(Tr. 244:7-15 (D0c.# 329),Tr.
12 68:24-25,69:1-16 (Doc.#333).) Shawn teslo ed thatby thetim ehe metV :.
                                                                        IAJohnson on
13 Novem ber24th,he had form ed an opinion thatthenondisclosurewmssuspicious,there could
14 beaproblem V t.
                 IIthemerger,anditcouldgotothetop.(Tr.258:24-25,259:1-7(DOc.#329).)
15 Lenatestified she had a personalbeliefsom ething fraudulentoccurred,and although she did
16 notknow forsure,an investigation needed to be conducted becatlsethe docum ent.
                                                                                sw ere not
17 produced priorto the m ergerand could im pactthevalue ofthepatentsthatIGT paid abillion
18 dollarsto acquire.(Tr.69:17-25,70:1-3 (DOc.# 333).)
19        Regarding,IGT'Sargum entthatPlaintiffscouldnothavehadasubjectivebeliefbecaklse
20 theytriedto enterinto aseveranceagreem entandsoldstockbeforei eirterm inalon,thecourt
21 flnctsthatIGT didnotraisetbisargum entinitsRule5o(a)m otion.lGT statedgenerally,inits
22 Rule5o(a)motion,thatPlaintiffsarerequiredtoprovetheyhad agood-faith,subjectivebelief
23 thattheconducttheywererepoY ngdolatedi elistedlaw lDoc.#348X zbutlGTdidnotargue
24 anywhereinitsm otionthatPlaintiffsdidnothaveagoodfaii beliefbeo usei eytHedto enter
25 into a severance agreem entand sold stock priortotheirterm ination. (SccDoc.# 310 4-5.)
26 Instead,IGT'Sargumentfoctlsedontheclaim thatPlaintiffscouldnothaveformedasubjective
27 beliefw ithoutftzltherinquiry into thealleged non-disclosure oftheAustralian Flyerm aterials
28                                             la
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 1 beforethemerger.(fd.at4.lBecauseIGTdidnotraisethisargum entinitsRule5o(a)m otion,
2 itisnotproperlyraisedintheinstantmotion.Sec GoDaddySofttvare,Inc.,581F.3dat961.
3             c.Objecdvely reasonablebelief
4       IGT arguesanybeliefofshareholderfraudby Plaintiffscolzldnothavebeenobjecuvely
5 remsonablebecause:(1)Plaintiffshadnofacm albmsistobelieveIGTshareholderswereharm ed
6 beo u ei eycol dnotu ow whei erim pi rm entofG evi ueoftheW heelPatentsinthem erger
7 wu possible;(2)Plaindfscom munio donsi dnotapprozmateasecudtesgaudclaim because
8 theylackedthescienterandlosselements;and (3)itwmsnotreasonableforPlaintiffstorepol't
9 thistoJohnson asapotentialwrongdoer.(Doc.# 342 18-24.)
10        First,PlaintiffsarguethatIGTdidnotraiseG earw p entG ati evanM dales'beliefwms
11 notobjectivelyreasonableintheirRule5o(a)motion.(Doc.# 34514-15.) Second)Plaintiffs
12 mssertthereisam pleevidencethattheVanAsdales'beliefswereobjectivelyremsonable. (Jd.
13 at14-16.)Third,Plaintiffsmssertthattheywerenotrequiredtoshow harm totheshareholders,
14 butdidbecamsetheyelicitedtestim onythatlGTspent$1.4BilliontoacquiretheW beelPatents,
15 IGT suedBallyandlost,andIGT'Sstockplicewentfrom $7odownto$7underT.J.M atthew's
16 leadership.(Jd.at16.) Finally,Plaintiffsarguethatthey followed an appropriatecoursein
17 reportingthepotentialforfraudtoJohnson,afterreportingittoBrown andPennington.@d.
18 at17.)
19        Prelim inarily,IGT did briefly m ention the argum entthat Plaintiffs did not have.an
20 objectivelyremsonablebeliefofpre-mergershareholderfraudintheirRule5o(a)motion.(See
21 Doc.#348 8,Doc.# 31O 4:16-22.)
22        Plaindffswererequiredto provethatthey had an objectively reasonablebeliefthat
23 shareholderfraud occurred. Man Asdale,577F.3d at1000-1001. fd(T)o have an objectively
24 reasonablebelieftherehasbeen shareholderfraud,thecom plaining em ployee'stheoorofsuch
25 fraud mtlstatleastapproximatethebasicelem entsofaclaim ofsecuritiesfraud.''fd.(internal
26 quotationsand citationsomitted).''A privateactionforsecuritiesfraud 'resembles,butisnot
27 identicalto,com mon-law tortactionsfordeceitand misrepresentation,'and E)itselem ents
28                                             14
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 1 includea m aterialm isrepresentation orom ission,scienter,a connection w it.
                                                                              h thepurchmseor
2 saleofasecurity,reliance,economicloss,andlosscausation.n1d.(citingDuraPhavms.,Inc.
3 1J. Broudo,544 U.S.336,341-42 (2005)). To establish that Plaintiffs had an objectively
4 reasonable belief of shareholder fraud, they were required to have a theoly of fraud
5 approxim ating a securitiesfraud claim ,butwere not required to prove thatsecurities fraud
6 acm allyoccurred.SeeFànAsdtzlc,577F.3datlool CItisnotcriticaltothevanAsdales'claim
7 thatthey provethatAnchoroffcialsactually engaged in fraud in connection G :.
                                                                             IIthem erger;
8 rai er,thevanM dale'sonlyneedshovri ati eyrea onablybelievedi ati erem ighthavebeen
9 fraudandwerefiredforeven suggesdngfurtherinquirp'').
10        The coul-tfinds'
                         there.wassubstantialevidenceforthejurytoconcludethatPlaintiffs'
11 beliefwasobjectivelyremsonable.First,IGT'Sargum entthatPlaintiffswereattorneysandnot
12 accountants,and therefore Q ould notknow whetherany im pairm entofthevaluegiven to the
13 W heelPatentsinthem ergerwouldbe possiblewithoutdiscussingtheissuew ith som eoneV t.II
14 therequisiteinancialbackground''issimplyuntenable.(SccDoc.#34219-20.)Thereisample
l5 testim onyin therecord regardingthevalueoftbeW heelPatents,and itisclearthattheW heel
16 Patentswere the prim anrreason forthe m ergerV :.
                                                   IIAnchor. Johnson described the W heel
l7 Patent.sastheffcrownjewel''oflGT'sintellecm alpropeo poe olio.(Tr.709:3-9(Doc.#331).)
18 Johnson also testifed thathe was aw are thatifthere w ere problem s wit.
                                                                          h theW heelPatents
19 beforethemerger,itcolzld affectthe outcom eofthem erger.(Tr. 668:23-25,669:1(Doc.#
20 331).) Shawn and Lenabothtestv ed aboutthevalueoftheW heelPatentsandthattheywere
21 theprim aryreasonforthemerger.(Tr.60:9-1971:15-21(DOC.# 333).)Theyalsotestv edthat
22 theythoughtthenon-isclosc ecoidhavebeendeliberate.(Tr.7o1:15-21(Doc.#333).)Shawn
23 tesdfedthatpennins ontoldhim iftheAustralianFlyerhadbeendtsclosedztheycouldnothave
24 gonethroughwiththem erger.(Tr.275:18-23(170c.#329).)Takingthisinformationalongwit.
                                                                                    h
25 the factthattop m anagem entatIGT,which included form erAnchoroë cials,had an alleged
26 fnancialinterestin thenondisclosure,thecoul'tfindsthejury had substantialeddencefrom
27 whichtoconcludethatShawnandLena'sbeliefwasobjectivelyreasonable.
28                                             15
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a. I I   9



              1        Finally,thecourtagreesthatPlaintiffsfollowed an appropriatecoursein reporting the
             2 potentialforfraud to Johnson,afterreporting itto Brown and Pennington.Theirreportingto
             3 Johnson doesnotrendertbeirbeliefobjectivelyunremsonable.
             4                    111. M O TIO N FOR N EW TRTAI,O R QEM I
              5    . LEGA L STA N DA R D
             6       UnderRule59,fflalcourtmay,onm otion,grantanew trialtoa11orsom eoftheissues-
             7 andtoanypartp ...tAlafterajurytrial,foranyreasonforwhicbanew trialhasberetoforebeen
             8 grantedinanactionatlaw infederalcourt.''FeII.R.CW.P.59(a)(1)(A).ffRule59doesnotspecify
              9 thegroundson which am otion fornew trialm aybe granted.''M olskiu.M .J.Cable,Inc.,481
             10 F.3d 724,729 (9th Cir.2007). Ratherjthecoul'tis''bound bythosegroundsthathavebeen
             11 historically recognized.''1d. '
                                              fl-listolically recognized groundsinclude,butare notlim ited to,
             12 claim s'thattlleverdictisagainsttheweightofthe evidence,thattbe dam agesareexcessive,or
             13 that,forotherreasons,thetrialwmsnotfairtothepartymoving.'''Id.(citation omitted).
             14        Courtsapply alowerstandard ofproofto m otionsfornew trialthan theydo to m otions
             15 forjudgm entmsamatteroflaw.A verdictm aybesupportbysubstantialevidence,yetstillbe
             16 againsttheclearweightofevidence.M olski,481F.3dat729.Unlikeam otionforjudgm entas
             l7 am atleroflaw,inaddressingam otionfornew trial,Ssltlhejudgecan weigh tlleevidenceand
             18 mssessthe credibility ofw itnesses,and need notview the evidence from the perspective m ost
             19 favorabletoG eprevailingpao .''Id.Instead,if,''havihggivenfullrespecttothejury'sfindings,
             20 thejudgeontheentireevidenceisleftwit. h thedesniteandfirm convictionthatam istakehas
             21 been com m itted,''then them otion should be granted.1d. at1371-72. However,a m otion for
             22 new trialshould notbe granted ''sim ply because the coul'twould have arrived ata different
             23 verdict''PavaolJ.Pagay,3O7F.3d 915,918(9th Cir.2002)9V.S.1?.4oxcres,175F.3d 1133,
             24 1139(9t.hCir.1999). Thecourtshotlldupholdajury'sawardofdamagesunlesstheawardis
             25 basedonspeclzlationorguesswork.SceCfrpofvernont7.S.Cal.EdisonCo.,955F.2d1361,
             26 1371(9t.
                       h Cir.1992).
             27
             28                                              16
                                                                               t                        ''''''
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è   f 1   *




               1        UnderRule 59(a),thecourtmay granta motion forrem ittit'urifthejury award was
               2 againsttheweightofthe ed dence.SccByrd u.BlueRidgeRuralElec. Coop.,Inc.,3s6 U .S.
               3 52541958);FM .R.CW.P.59(a);seealsoFennerv.DependableTrucking,Co.,1nc.,7l6F.2d589,
               4 603 (9th Cir.1983)(wherecourtdeterm inesdamageaward isexcessive,courtmaygrantthe
               5 m otion fornew trialordenythemotion conditionalontbeacceptanceofaremittitur).
               6        ''llxenialofam otion fornew trialisreversible'onlyiftherecord containsno evidence
               7 insupportoftheverdict'orifthedistrictcourt'madeamistakeof1aw.'''GoDaddySoftware,
               8 Jnc.,581F.3d951,962(9thCir.2009)(citingM blskf1J.M .J.Cable,Inc,481F.3d724,729(9th
               9 Cir.2007)(internalquotation m arltsand citationsom ittedl).
              10 B . D ISCU SSIO N          .
              11        1. Tim eliness
              12        PlaintiffsarguethatIGT'Smotion isuntim ely.(Doc.# 346 2.) Likearenewed motion
              13 forjudgm entasam atteroflam am otionfornew trialmustbesled nolaterthan28 daysaAer
              14 theentryofjudgment.FeII.R.CiV.P.59* ).Judgmentwasentered on Febrtlary 9,2011.(See
              15 Doc.# 321.) lGT originallyfled itsmotion in thesam edocum entastherenewed m otionfor
              16 'udgm entasam atteroflaw onM arch8,2011.(Doc.#340.)IGT resledthemotioninaseparate
              17 documenton M arch 9,2011.(Doc.# 342.) IGT'Smotion istimely.
              18        2. Sum m ary ofarp zm ent '
              19        IGT challengesthejury award toShawnVan Asdalein theam ountof$955,597,which
              20 appears to correlate with his purpoled loss of stock options,because it argues that the
              21 uncontrovertedevidenceshowedhefailedtom itigatehisdamages.(Doc.# 3434-7.)
              22       Plaintiffsarg'
                                    uethatIGT'Sm erespeculationastowhatthejuryawardedShawnisnotan
              23 adequatebasisforanewtriBorrem iG m r.(Doc.#3461.)lnaddition,Plaintiffsarguethateven
              24 iftheonlycomponentofthejuryawardtoShawnvanM dalewasloststockoptions,thosewere
              25 includedinthedefnitionofbackpayinthejuryinstructions,andIGTwaivedanyobjectionto
              26 thatjuryinstnlction.Lld.at1-2.)Finally,Plaintiffsmssel'tthatIGT'Sspeculationregardingthe
              27 'ury'sunderstandingofDr.Cargill'stestim ony iswithoutm erit.@d.at5-6.)
              28                                            17
                 Case 3:04-cv-00703-RAM        Document 355      Filed 05/24/11    Page 18 of 19
4 # @   *




             1        3. Analysis
            2         The court fnds no bmsis for a new trial. First,while IGT argues that there was
            3 uncontrovertedevidencethatShawnfailedtomitigatehisdamagesbynotacceptingthejobat
            4 Action Gam ing,Shawn testv ed aboutthe circum stancesofhisrejection ofthejob. Shawn
            5 testifiedtllathewouldhavehadtorelocatetoI.nKVegasforthisjob,andthatafterhesignsdan
            6 em plom ent agreem ent,Ernie M oody wanted to include a prod sion that Shavm cotlld be
            7 term inatedforcatuse,whichw asdefned% inclui nggicHonv G lGT,andhewmscertainthings
            8 wouldbecomediK cultbetweenlGT andAction.(Tr.302:14-25)303:1-8(DOc.# 329).)ltwas
            9 up tothejurytodeterminewhetherShawnVanAsdaleacted remsonablyin notacceptingthis
            10 'ob.(SccDoc.#315,JurylnstnlctionNo.21A.) Basedonthistestim ony,thejurycouldhave-
            11 concluded thattherew msno failureto m itigate.
            12        Second,July lnstnlction No.21states:
            13        Ifyou findfora plaintiffon hisorherSarbanes-oxleyclaim ,you m ustdeterm ine
            14        pa
                      ere
                        ch
                         popnld
                              ae
                               ln
                                rt
                                 ai
                                  nffcs
                                      eoBtatma
                                             hegeeud
                                                  q.eAncp
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                                                            Dam   has
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                                                                      means   tdenamofount
                                                                               he      provof
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            15        rea
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                                                       nsatdeaplal
                                                             cons inti
                                                                   defftf
                                                                     r  orfao1
                                                                        he   nl'
                                                                               omo
                                                                                winge:tarylossresultingfrom
            16        Backpay,includingtbrreasonablevalueofearrjngs,employmentopportunities,
                      benefitsand stock optlonslostto thepresenttlm e.
            17
                      Itisforyou to determ ine whatdam ages,ifany,have been proved.Youraward
            18        mustbebaseduponevidenceandnotuponspeculation,guessworkorconjec re.
            19(Doc.#Tyy
                      1
                      e5i
                        .
                        )stnlctionclearlyincludesloststockoptionsmsanelementofPlaintiffs,backpay
                        n                                                                                      .



            20 IGT did notobjecttothisinstmzction. Nordid IGT objecttothegeneralverdictform .IGT'S
            21 suggestionthatitobjectedtothegeneralverdictform byagreeingintheorytoaspecialverdict
            22 form proposedbyplaindfsiscouhtedacm z.(SccDoc.#3472.)IGT'SSupplementalObjection
            23 toPlaintiffs'JuryInstnlctions(Doc.# 294)containstheheading,''OBJECTION TO SPECIAI,
            24     RDICTFORK ''andindicatesthatIGTAIInotobjecttotheconceptoftlsingaspecialverdict
            25 form ,butwanted to expand itto coincide w ith tbe elem entsofa SOX claim and accountfor
            26 mitigationofdam ages.(Doc.# 294 3.)W hileIGT mayhavesoughttoaddadditionalitemsto
            27
            28                                                 18
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    1 Plaintiffs'proposedspecialverdictform ,therecorddoesnotcontainanobjectiontothegeneral
    2 verdictform used by thecourt.
    3         Finally,whiletheam ountawardedto Shawn appearsto correlatew1t.
                                                                           11theam ountofhis
    4 loststock optionssetforth by Dr. Cargill,nothin'
                                                     g in the verdictform suggests precisely how

    5 thejurycalculatedtheaward.
    6       Toconclude,thecourtsimplycannotspeculateregardingthejury'sconclusion onthe
    7 categorization ofdamages.Therewassuo cientevidenceforthejurytoconcludethatShawn
    8 acted remsonablyin nottaldngthejobuit.
                                           hAction Gaming,andinthatcmsethejuly wouldnot
    9 haveconsideredthe$2.6millionasm idgationiniu damagescicl adon.M awardofloststock
    10 optionsasanelementofbackpaywaswithinthejury'spumriewundersox.Therefore,thecourt
    11 sndsthattheevidencepresentedtothejuty supportsitsaward.
'   12                                   IV . CON CLU SIO N
                                                                                                   I
    13        IT IS H EREBY O RD ER ED thatIGT'SRenew ed M otion forJudgm entasa M atlerof
    14 Imw (Doc.# 342)isDEN IED.
    15        IT IS H EILEBY FI.TRTH ER O R D ERED t.IIatIGT'SM otionforNew TrialorRem ittim r

    16 (Doc.# 343)isDEN IED.
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    18 DATED :M ay 24,2011
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    21                                        UNITED STATES M AGISTM TE JUD GE
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